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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X

In re:
                                                                      03-MDL-1570 (GBD)(SN)
         TERRORIST ATTACKS ON
         SEPTEMBER 11, 2001                                               IRAN NOTICE OF
                                                                            AMENDMENT
-----------------------------------------------------------------X

                          Ashton et al v. al Qaeda Islamic Army, et al.
This document relates to: ________________________________________________________,

No. ___________________.
    02-CV-6977(GBD)(SN)

         Plaintiffs file this Notice of Amendment with respect to the underlying Complaint in the

                                  3237
above-referenced matter, ECF No. _________, as permitted and approved by the Court’s Order

of July ___,
         10 2018, ECF No. _________.
                           4045      Upon the filing of this Notice of Amendment, the

underlying Complaint is deemed amended to add the individual(s) listed below (the “New

Plaintiff(s)”) as plaintiff(s) raising claims against the Islamic Republic of Iran. The underlying

Complaint is deemed amended to include the allegations, as indicated below, of (a) the Federal

Insurance and Ashton Plaintiffs’ Amended Consolidated Complaint Against Defendant, the

Islamic Republic of Iran, ECF No. 3237, or (b) the Amended Complaint, Burnett v. Islamic

Republic of Iran, No. 15-CV-9903 (GBD)(SN) (S.D.N.Y. Feb. 8, 2016), ECF No. 53. The

amendment effected through this Notice of Amendment supplements by incorporation into, but

does not displace, the underlying Complaint. This Notice of Amendment relates solely to the

Islamic Republic of Iran and does not apply to any other defendant.

         Upon filing this Iran Notice of Amendment, each New Plaintiff is deemed to have

adopted all factual and jurisdictional allegations of the complaint that has been joined as

specified below; all causes of action contained within that complaint; all prior filings in




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connection with that complaint; and all prior Orders and rulings of the Court in connection with

that complaint.

       Additionally, each New Plaintiff incorporates the factual allegations and findings

contained in those pleadings and orders filed at Havlish v. Bin Laden, No. 1:03-CV-9848

(GBD)(SN) (S.D.N.Y.), ECF Nos. 263, 294, 295; In re Terrorist Attacks on September 11, 2001,

03-MDL-1570 (GBD)(SN) (S.D.N.Y.), ECF Nos. 2430, 2431, 2432, 2433, 2473, 2515, 2516;

and evidence submitted at the proceedings before the Honorable George B. Daniels on December

15, 2011 (ECF No. 2540).

                                      CAUSES OF ACTION

       Each New Plaintiff hereby adopts and incorporates herein by reference all factual

allegations, jurisdictional allegations, and jury trial demand, including all causes of action

against Iran, as set forth in the following complaint [check only one complaint]:

        x      Federal Insurance and Ashton Plaintiffs’ Amended Consolidated Complaint
               Against Defendant, the Islamic Republic of Iran, ECF No. 3237

               Amended Complaint, Burnett v. Islamic Republic of Iran, No. 15-CV-9903
               (GBD)(SN) (S.D.N.Y. Feb. 8, 2016), ECF No. 53




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                          IDENTIFICATION OF NEW PLAINTIFFS

Each New Plaintiff is or was a survivor of a person who died due to the terrorist attacks of

September 11, 2001. For each New Plaintiff, the following chart lists the New Plaintiff’s name,

the New Plaintiff’s residency and nationality, the name of the New Plaintiff’s deceased family

member, the New Plaintiff’s relationship to the decedent, and the paragraph(s) of the underlying

Complaint discussing the decedent and/or the decedent’s estate.



    Plaintiff’s Name   Plaintiff’s   New             9/11 Decedent's     New Plaintiff’s   Paragraphs
    (alphabetical by   State of      Plaintiff’s     Name                Relationship to   of
    last name)         Residency     Citizenship/N                       9/11 Decedent     Complaint
                       at filing     ationality on                                         Discussing
                       (or death)    9/11/2001                                             9/11
                                                                                           Decedent
    Caggiano,          NY            USA             Opperman,           Child
1   Elizabeth                                        Michael                                 N/A

    Cruikshank,        NY            USA             Cruikshank,         Spouse
2   Marianne                                         Robert                                  N/A

    Francolini,        NY            USA             Jones III, Arthur   Spouse
3   Carol                                            J.                                      N/A

    Francolini,        NY            USA             Jones III, Arthur   Parent and
    Carol                                            J.                  legal guardian
                                                                         on behalf of
                                                                         J.J., minor
4                                                                        child of 9/11       N/A
                                                                         Decedent
                                                                         Arthur J.
                                                                         Jones III
    Haynes, Ann        NY            USA             Haynes, William     Spouse
5   R.                                               W.                                      N/A

    Haynes, Ann        NY            USA             Haynes, William     Personal            N/A
    R.                                               W.                  Representative
                                                                         of the Estate
6
                                                                         of Elizabeth
                                                                         W. Haynes,
                                                                         deceased


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     Plaintiff’s Name   Plaintiff’s   New             9/11 Decedent's     New Plaintiff’s   Paragraphs
     (alphabetical by   State of      Plaintiff’s     Name                Relationship to   of
     last name)         Residency     Citizenship/N                       9/11 Decedent     Complaint
                        at filing     ationality on                                         Discussing
                        (or death)    9/11/2001                                             9/11
                                                                                            Decedent
                                                                          Child of 9/11
                                                                          Decedent
                                                                          William W.
                                                                          Haynes
     Haynes, II,        NY            USA             Haynes, William     Child               N/A
7    William W.                                       W.
     Jones, Cary        NY            USA             Jones III, Arthur   Child               N/A
8                                                     J.
     Jones,             NY            USA             Jones III, Arthur   Child               N/A
9    Charlotte                                        J.
     Jones, Julia       NY            USA             Jones III, Arthur   Child               N/A
10                                                    J.
   Morell, Jr.,         NY            USA             Morell, George      Child               N/A
11 George W.                                          W.
   Morell,              MN            USA             Morell, George      Child               N/A
12 Kelsey Jane                                        W.
   Morell, Nancy NY                   USA             Morell, George      Child               N/A
13 J.                                                 W.
     Morell,            NY            USA             Morell, George      Personal            N/A
     Patricia                                         W.                  Representative
                                                                          of the Estate
                                                                          of Gaspar
                                                                          John Morell,
14                                                                        Jr., deceased
                                                                          Sibling of
                                                                          9/11 Decedent
                                                                          George W.
                                                                          Morell
     Morell,            NY            USA             Morell, George      Spouse              N/A
     Roberta                                          W.
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     Plaintiff’s Name   Plaintiff’s   New             9/11 Decedent's   New Plaintiff’s   Paragraphs
     (alphabetical by   State of      Plaintiff’s     Name              Relationship to   of
     last name)         Residency     Citizenship/N                     9/11 Decedent     Complaint
                        at filing     ationality on                                       Discussing
                        (or death)    9/11/2001                                           9/11
                                                                                          Decedent
     Morrison,          NY            USA             Siskopoulos,      Personal            N/A
     Laura                                            Muriel            Representative
                                                                        of the Estate
                                                                        of Mark
                                                                        Siskopoulos,
16                                                                      deceased
                                                                        Spouse of
                                                                        9/11 Decedent
                                                                        Muriel
                                                                        Siskopoulos
   O’Neil               NY            USA             Morell, George    Child               N/A
17 Morell,                                            W.
   Harrison
   Oliva Moss,          NY            USA             Oliva, Linda      Parent              N/A
18 Elizabeth

   Opperman,            NY            USA             Opperman,         Spouse              N/A
19 Deborah                                            Michael
   Opperman,            VT            USA             Opperman,         Child               N/A
20 Jr., Michael                                       Michael
     Rosenblatt,        NY            USA             Siskopoulos,      Personal            N/A
     Philip                                           Muriel            Representative
                                                                        of the Estate
                                                                        of Anne
                                                                        Rosenblatt
21                                                                      Klein,
                                                                        deceased
                                                                        Parent of 9/11
                                                                        Decedent
                                                                        Muriel
                                                                        Siskopoulos
   Smith, Jr.,          NY            USA             Haynes, William   Child               N/A
22 Terence M.                                         W.
     Stan, Daniel       NY            USA             Stan, Alexandru   Personal            N/A
23
                                                                        Representative

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     Plaintiff’s Name   Plaintiff’s   New             9/11 Decedent's    New Plaintiff’s   Paragraphs
     (alphabetical by   State of      Plaintiff’s     Name               Relationship to   of
     last name)         Residency     Citizenship/N                      9/11 Decedent     Complaint
                        at filing     ationality on                                        Discussing
                        (or death)    9/11/2001                                            9/11
                                                                                           Decedent
                                                                         of the Estate
                                                                         of Elisabeta
                                                                         Stan, deceased
                                                                         Parent of 9/11
                                                                         Decedent
                                                                         Alexandru
                                                                         Stan
     Stan, Daniel       NY            USA             Stan, Alexandru    Personal            N/A
                                                                         Representative
                                                                         of the Estate
                                                                         of Constantin
24                                                                       Stan, deceased
                                                                         Parent of 9/11
                                                                         Decedent
                                                                         Alexandru
                                                                         Stan
   Yeow, Evelyn         NY            USA             Waye, Michael      Spouse              N/A
25 Siew-Sim                                           H.




Dated: November 20, 2018



                                                          Respectfully submitted,

                                                          KREINDLER & KREINDLER LLP

                                                          BY: /s/ James P. Kreindler
                                                          James P. Kreindler, Esq.
                                                          Andrew J. Maloney III, Esq.
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                                                          New York, New York 10017
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                                                          COUNSEL FOR PLAINTIFFS

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